NA1 (11/10/15) pjk               UNITED STATES BANKRUPTCY COURT                   U.S. BANKRUPTCY COURT
                                          District of Oregon                       DISTRICT OF OREGON
                                                                                          FILED
In re                                         )
 Cheryl Kae Stites                            )   Case No. 14−35071−dwh7               August 24, 2018
                              Debtor(s)       )                                  Clerk, U.S. Bankruptcy Court
                                              )
 US Trustee                                   )   Adv. Proc. No. 16−03013−dwh           BY pjk DEPUTY
                              Plaintiff(s)    )
                                              )
                            v.                )   NOTICE RE FILING
Vincent Howard                                )   OF NOTICE OF APPEAL
et al.                                        )
                              Defendant(s)    )
                                              )
                                              )


NOTICE IS GIVEN that a Notice of Appeal was filed by Jeffrey Katz on behalf of Howard Law, PC and
Vincent Howard with the Clerk of the Bankruptcy Court on 08/23/18. Appellant elected to have this
appeal heard by U.S. District Court for the District of Oregon; therefore the appeal will proceed under U.S.
District Court Local Rule (LR) 2200−3.

Pursuant to Fed. R. Bankr. P. 8009 the appellant must file a Statement of Issues and a Designation of
Record within 14 days of the filing of the Notice of Appeal.

Appellant must file the enclosed Notice of Status of Transcript on Appeal when filing the Statement of
Issues and Designation of Record.

                                                                             Clerk, U.S. Bankruptcy Court




                           Case 16-03013-dwh        Doc 190     Filed 08/24/18
